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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 GABRIELA A. MAGNUSSEN                              §
                                                    §
 v.                                                 §
                                                    §   Civil Cause No. 3:17-cv-02102
 MARLENE SCOTT BELCHER, and                         §
 SCHNEIDER NATIONAL CARRIERS,                       §
 INC.                                               §

             INDEX OF PLEADINGS FILED IN THE STATE COURT ACTION

TO THE UNITED STATES DISTRICT CLERK:

         Pursuant to 28 U.S.C. § 1447(b), attached hereto are complete true and correct copies of

all documents filed in the state court action.

                                                 Respectfully Submitted,

                                                 FEE, SMITH, SHARP & VITULLO, L.L.P.

                                                 /s/ Michael P. Sharp

                                                 MICHAEL P. SHARP
                                                 State Bar No. 00788857
                                                 Email: msharp@feesmith.com
                                                 JASON A. BURRIS
                                                 State Bar No. 24049591
                                                 Email: jburris@feesmith.com
                                                 Three Galleria Tower
                                                 13155 Noel Road, Suite 1000
                                                 Dallas, TX 75240
                                                 (972) 934-9100
                                                 (972) 934-9200 (Fax)

                                                 ATTORNEYS FOR DEFENDANTS




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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 9th day of August, 2017, I electronically transmitted the
attached document to the Clerk of the Court using the ECF System for filing. Based on the
electronic records currently on file, the Clerk of the Court will transmit a Notice of Electronic
Filing to the following ECF registrants:

       Gina Giblin
       Law Office of Domingo Garcia, P.C.
       400 S. Zang Blvd.
       6th Floor, Suite 600
       Dallas, TX 75208
       E-Service: dallasoffice@dgley.com


                                            /s/ Michael P. Sharp

                                            MICHAEL P. SHARP




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08/09/17    Docket Sheet

06/26/17    Plaintiffs’ Original Petition with Discovery Requests

06/29/17    Citation for Service on Defendant Schneider National Carriers, Inc.

06/29/17    Citation for Service on Defendant Marlene Scott Belches

07/25/17    Officers Return - Service on Defendant Schneider National Carriers, Inc.

07/28/17    Return of Service - Service on Defendant Marlene Scott Belches

08/08/17    Defendants’ Original Answer




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             Case Information




             DC-17-07579           192nd District Court   SMITH, CRAIG

             06/26/2017            MOTOR VEHICLE          OPEN
                                   ACCIDENT




             Party


                                                                          Ú
             MAGNUSSEN,, GABRIELA A.                      Lead Attorney
             Address                                      GIBLIN, GINA
             400 S. ZANG BLVD SUITE 600                   LYNN
             DALLAS TX 75208                              Retained


                                                          214-941-8300


                                                          214-943-7536




                                                                          Ú
             SCHNEIDER NATIONAL CARRIERS, INC             Lead Attorney
             Address                                      SHARP, MICHAEL
             BY SERVING ITS REGISTERED AGENT CT           PAUL
             CORPORATION                                  Retained
             1999 BRYAN ST STE 900
             Dallas TX 75201                              972-934-9100


                                                          972-934-9200




                                                                          Ú
             BELCHES, MARLENE SCOTT                       Lead Attorney

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                 8/9/2017
Details                                                                                Page 2 of 4
            Address                             SHARP, MICHAEL
            Case  3:17-cv-02102-N Document 1-1 Filed 08/09/17 Page 5 of 65 PageID 10
             308 Old PENCIL MILL RD.                PAUL
             CHAPEL HILL TN 37034                   Retained


                                                    972-934-9100


                                                    972-934-9200




             Events and Hearings




                                           Ú




                                       Ú




                                               Ú



               ESERVE




               CERTIFIED MAIL


               07/28/2017


                                   Ú



               ESERVE


https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                  8/9/2017
Details                                                                                                  Page 3 of 4
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               PRIVATE PROCESS SERVER


               07/25/2017


                                                  Ú




                 CITATION-SCHNEIDER NATIONAL CARRIERS, INC


                                                  Ú




                 CITATION-MARLENE SCOTT BELCHES


                                                                Ú




             Financial


                  Total Financial Assessment                          $307.00
                  Total Payments and Credits                          $307.00


              6/28/2017     Transaction                              $307.00
                            Assessment

              6/28/2017     CREDIT        Receipt     MAGNUSSEN,,   ($307.00)
                            CARD -        #           GABRIELA A.
                            TEXFILE       40434-
                            (DC)          2017-
                                          DCLK




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                    8/9/2017
Details                                                                                     Page 4 of 4
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             Documents


               POP and RFD.pdf

               DC-17 -07579.pdf

               DC-17-07579COH.pdf

               RETURN OF SERVICE

               RETURN OF SERVICE

               DEFs Original Answer (8.8.17).pdf




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                       8/9/2017
                                                                                                                       FILED
    Case 3:17-cv-02102-N Document 1-1 Filed 08/09/17                     Page 8 of 65 PageID 13            DALLAS COUNTY
                                                                                                           6/26/2017 1:42 PM
1-COH-E-SERVE                                                                                                 FELICIA PITRE
                                                                                                           DISTRICT CLERK

1 CT-E-SERVE                                                                                       Freeney Anita
                                           CAUSE NO. DC-17-07579


   GABRIELA A. MAGNUSSEN,                                 § IN THE DISTRICT COURT
       Plaintiff,

   VS.
                                                                    JUDICIAL DISTRICT

   MARLENE SCOTT BELCHES AND §
   SCHNEIDER NATIONAL CARRIERS, INC., §
       Defendants.                    § DALLAS COUNTY, TEXAS

                             PLAINTIFF'S ORIGINAL PETITION AND
                              REQUEST FOR WRITTEN DISCOVERY

   TO THE HONORABLE JUDGE OF SAID COURT:

           NOW COME GABRIELA A. MAGNUSSEN ("Plaintiff'), complaining of and against

   MARLENE SCOTT BELCHES and SCHNEIDER NATIONAL CARRIERS, INC. ("Defendants"),

   and would respectfully show unto the Court as follows:

                                            I. DISCOVERY CONTROL PLAN

           Plaintiff submits this action under Discovery Control Plan Level II, per Rule 190.3 of the

  Texas Rules of Civil Procedure.

                                               II. RELIEF

           Plaintiff seeks monetary relief between $100,000.00 and $200,000.00.

                                          III. JURISDICTION

           The Court has jurisdiction as Plaintiffs damages are within the jurisdictional limits of this
  Court.
                                               IV. VENUE

           All or a substantial part of the events giving rise to this claim occurred in Dallas County,

   therefore venue is proper in Dallas County pursuant to C.P.R.C. § 15.002(a)(1) and § 15.005.
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                                            V . SERVICE

      Plaintiff GABRIELA A. MAGNUS SEN is an individual domiciled in Denton, Texas.

      Defendant, MARLENE SCOTT BELCHES, an individual who is a nonresident of Texas and

whose home is located at 308 Old Pencil Mill Rd., Chapel Hill, TN 37034, may be served with

process by serving the Chairman of the Texas Transportation Commission at 125 E. 1 1 th Street,

Austin, Texas 78701, as defendant's agent for service because defendant was a party to a collision

or accident while operating a motor vehicle in Texas. Issuance of citation is requested at this time

        Defendant SCHNEIDER NATIONAL CARRIERS, INC., is a corporation that may be served

with process through its registered agent, CT Corporation System, at 1999 Bryan St., Ste. 900,

Dallas, TX 75201. Issuance of citation is requested at this time

        Whenever in this petition it is alleged that a Defendant committed any act or omission, it is

meant that the Defendant's officers, directors, vice-principals, agents, servants, and/or employees

committed such act or omission and that, at the time such act or omission was committed, it was

done with the full authorization, ratification, or approval of that Defendant or was done in the routine

and normal course and scope of employment of that Defendant's officers, directors, vice-principals,

agents, servants, and/or employees. Accordingly, Defendant had actual knowledge of all adverse

actions and conduct against Plaintiff through Defendant's respective officers, directors, vice-

principals, agents, servants, and/or employees.

                                       VI. JURY DEMAND

       Plaintiff respectfully requests that a jury be convened to try the factual issues of this case.

                                    VII. CAUSE OF ACTION

       On or about October 26, 2015, Plaintiff was driving on the proximity of I- 30 Highway, and

the intersection of exit I- 635 highway, on the far right lane, when Defendant, who was driving a
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semi-trailer truck on the left lane next to Plaintiff, started to unsafely marge into Plaintiffs lane and

violently collided with Plaintiffs vehicle on its driver's side . As a result of such impacts Plaintiff

sustained personal injuries and damages. At all times Defendants failed to use the ordinary care that

a person of ordinary prudence should have used under same or similar circumstances. Such failures

constituted the negligence that proximately caused Plaintiffs injuries and damages.

          VIII. DEFENDANT MARLENE SCOTT BELCHES'S NEGLIGENCE

       Defendant MARLENE SCOTT BELCHES failed to use the ordinary care that a person of

ordinary prudence should have used under same or similar circumstance and said failure constituted

negligence. Among other things Defendant committed the following acts of negligence:

           A. She failed to pay attention or drove inattentively;

           B. She failed to properly look out;

           C. She failed to control her speed;

           D. She failed to apply the breaks or applied her breaks in an untimely manner;

           E. She failed to take evasive maneuvers or took faulty evasive maneuvers; and

           F. She failed to do what a reasonable prudent person would have done or not have done

               under the same or similar circumstances.

       Each of the above acts and omissions, singularly or in combination with each other, was a

proximate cause of Plaintiffs personal injuries and damages that are described further below.

   IX. DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC.'S NEGLIGENCE

                                       (A) Vicarious Liability

       At all times relevant to the incident in question Defendant MARLENE SCOTT BELCHES

was Defendant SCHNEIDER NATIONAL CARRIERS INC.'S employee, and acting within, and
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 in furtherance of, his employer's business. Therefore, Defendant SCHNEIDER NATIONAL

CARRIERS INC. is vicariously liable for Defendant MARLENE SCOTT BELCHES' s negligence

under the doctrine of respondeat superior.

                                    (B) Negligent Entrustment

        Defendant SCHNEIDER NATIONAL CARRIERS INC failed to use the ordinary care that

a person of ordinary prudence should have used under same or similar circumstance and said failure

constituted negligence by negligently entrusting its vehicle to Defendant MARLENE SCOTT

BELCHES when it knew, or should have known, that Defendant MARLENE SCOTT BELCHES

was an unfit or incompetent driver. Defendant SCHNEIDER NATIONAL CARRIERS INC.'s

entrustment was also a proximate cause of the incident in question and Plaintiff's injuries and

damages.

                  (C) Negligent Hiring, Training, Retention and Supervision

        Defendant SCHNEIDER NATIONAL CARRIERS INC. failed to perform adequate

background checks on Defendant MARLENE SCOTT BELCHES to determine MARLENE SCOTT

BELCHES's fitness to drive SCHNEIDER NATIONAL CARRIERS INC.'s tractor trailers. It also

failed to adequately train MARLENE SCOTT BELCHES on safe driving. Moreover, it failed to

properly supervise MARLENE SCOTT BELCHES 's hours of operation, competency as driver, and

compliance with safety policies and procedures. Furthermore, if retained MARLENE SCOTT

BELCHES as tractor trailer driver despite MARLENE SCOTT BELCHES 's unfitness, lack of

training and noncompliance with safety polices and procedures. Thus, Defendant SCHNEIDER

NATIONAL CARRIERS INC. failed to act with the ordinary care that a person of ordinary prudence

would have acted under same or similar circumstances. Such failure constituted negligence and said

negligence was also a proximate cause of the incident in question and Plaintiff's personal injuries
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and damages.

        Each of the above acts and omissions, singularly or in combination with each other, was a

proximate cause of Plaintiff personal injuries and damages that are described further below

                                  X. EXEMPLARY DAMAGES

        Plaintiff injuries resulted from Defendants' gross negligence, which entitle Plaintiff to

exemplary damages under Tex. Civ. P. & Rem. Code § 41.003(a). At the time of the occurrence in

question, Defendants' inattentive driving, speed, and failure to maintain a clear assured following

distance, coupled with Defendant's disregard for basic rules of the road, including, constituted gross

negligence in that such acts and/or omissions, when viewed from Defendants' standpoint, involved

an extreme degree of risk to drivers and travelers in Dallas County roads, including the risk of severe

bodily injury and death to the public, and Plaintiff. Moreover, Defendants had actual awareness that

the above acts and/or omissions were increasingly probable due to Defendants' inattention.

Nonetheless, and despite Defendants' actual subjective awareness of the risk his grossly negligent

driving imposed upon other drivers, travelers and the public in general, Defendants proceeded to

drive in such grossly negligent manner with in conscious and blunt disregard to the rights, safety and

welfare of others. Consequently, Plaintiff seek exemplary damages and hereby give notice to

Defendants that they will seek to prove the above allegations by clear and convincing evidence.

                                          XI. DAMAGES

       As a result of Defendants' negligence, Plaintiff suffered painful and debilitating bodily

injuries. Thus, they have incurred reasonable and necessary medical expenses in excess of

$25,617.86. In reasonable probability Plaintiff will incur additional necessary and reasonable

expenses medical expenses in connection with their injuries in this case. Moreover, Plaintiff has
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experienced, and continues to experience physical pain, mental anguish, and physical impairment,

and loss of earnings capacity that have interfered with Plaintiff activities of daily life, leisure and

their enjoyment and quality of life.

                     XII. REQUESTS FOR DISCLOSURE TO DEFENDANT

          Plaintiff requests that Defendant disclose the information and material described in TEX. R.

CIV. P. 194.2 (a) - (1). In addition to the materials requested in TEX. R. CIV. P. 194.2, Plaintiff

requests that Defendants disclose all documents, electronic information, and tangible items that are

in Defendant's possession, custody, or control and may use to support its claims or defenses.

Defendant's responses shall be delivered to Plaintiffs attorney of record at 400 S. Zang Blvd., Suite

600, Dallas, Texas 75208 within fifty (50) days from the date of service hereof. Plaintiff also

requests that the Defendant supplements his responses to this Requests for Disclosure, as provided

by TEX. R. CIV. P. 192, 193, and 194.

                            XIII. NOTICE OF USE OF DOCUMENTS

          Pursuant to Texas Rules of Civil Procedure 166a(d) and 193.7, Plaintiff hereby gives notice

to Defendant that he intends to use all discovery products, responses, and documents exchanged and

produced between the parties and as summary judgment evidence, in any pretrial proceeding, and/or

at trial in this cause.

                                           XIV . PRAYER

    WHEREFORE, Plaintiff respectfully requests that Defendants be cited to appear and answer, and

that on final trial, Plaintiff be awarded judgment against Defendant for the following:

     a.       Monetary compensation for past medical expenses in excess of $25,617.86.

     b.       Monetary compensation that, in reasonable medical probability Plaintiff will incur in
              the future;
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   c.    Mental anguish in the past and future;

   d.    Physical pain and suffering in the past and future;

   e.   Physical impairment in the past and future;

   f.    Monetary damages for past and future permanent disfigurement;

   g.    Pre and post judgment interest at the maximum legal rate;

   h.   Costs of Court; and

   i.    Permanent disfigurement for the past and future;

   j.   Lost-wages and loss of earning capacity;

   k.   Property damage and for Loss of Use;

   I.   Such other and further relief, at law or in equity, to which Plaintiff may be justly
        entitled.


                                          Respectfully Submitted,

                                          LAW OFFICES OF DOMINGO GARCIA, P.C.



                                  By:     /s/ Gina Giblin
                                          Gina Giblin
                                          State Bar No. 00787532
                                          400 S. Zang Blvd.
                                          6th Floor Suite 600
                                          Dallas, Texas 75208
                                          Telephone: (214) 941-8300
                                          Facsimile:     (214) 943-7536
                                          E-Service: dallasoffice@dgley.com
                                          ggiblin@dley.com


                                          ATTORNEYS FOR PLAINTIFF
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                                    CAUSE NO.

GABRIELA A. MAGNUSSEN ,                                    IN THE DISTRICT COURT
     Plaintiff,

VS.                                                               JUDICIAL DISTRICT

MARLENE SCOTT BELCHES AND
SCHNEIDER NATIONAL CARRIERS, INC.,
     Defendant.                                            DALLAS COUNTY, TEXAS

              PLAINTIFF'S FIRST REQUEST FOR WRITTEN DISCOVERY
               TO DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC.

TO:    Defendant, SCHNEIDER NATIONAL CARRIERS, INC., is a corporation that may be
       served with process through its registered agent, CT Corporation System, at 1999 Bryan St.,
       Ste. 900, Dallas, TX 75201, or wherever defendant may be found.

       NOW COMES, Plaintiff, GABRIELA A. MAGNUS SEN, in the above-styled and numbered

cause, by and through his attorney of record, GINA L. GIBLIN, The Law Office of Domingo Garcia,

P.C., and propound the following interrogatories, requests for production, and requests for

admissions, to be answered by Defendant Defendant, SCHNEIDER NATIONAL CARRIERS, INC.,

such answers to include all of the information called for by such requests and interrogatories. These

discovery requests are propounded pursuant to Rules 192, 193, 196, 197 and 198 of the Texas Rules

of Civil Procedure and such requests and/or questions shall be answered separately, fully in writing

and under oath, in fifty (50) days from the date of service hereof. Any objections to such requests

and/or questions shall be made within fifty (50) days from the date of service hereof. Plaintiff will

also requests that the Defendant continue to supplement answers to these requests and/or questions,

as provided by Rules 192, 193, 196, 197, and 198 of the Texas Rules of Civil Procedure.




PLAINTIFF'S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC./ng                                     Page 1
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                                            Respectfully submitted,

                                            LAW OFFICE OF DOMINGO GARCIA, P.C.



                                            By:     /s/ Gina L. Giblin
                                                    Gina L. Giblin
                                                    State Bar No. 00787532
                                                    Email: ggiblin@dgley.com
                                                    E-Service: Dallasoffice@dgley.com

                                            400 S. Zang Blvd.
                                            6th Floor, Suite 600
                                            Dallas, Texas 75208
                                            Telephone: (214) 941-8300
                                            Facsimile: (214) 943-7536

                                            ATTORNEYS FOR PLAINTIFF




PLAINTIFF'S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC./ng                             Page 2
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                                         DEFINITIONS

       "Plaintiff', as used herein, shall refer to GABRIELA A. MAGNUSSEN, and his respective

agents, representatives, or anyone acting on his behalf.

       The terms "Defendant," "you" or "your," as used herein, shall refer to SCHNEIDER

NATIONAL CARRIERS, INC., and its agents, representatives or anyone acting on its behalf.

       The "date" referred to in the following requests and questions is OCTOBER 26, 2015;

       The "accidental injury","incident", and/or "accident" referred to in the following is the

collision occurring on OCTOBER 26, 2015, involving a 2016 Freightliner Semi trailer that is owned

by SCHNEIDER NATIONAL CARRIERS, INC., and operated by Defendant MARLENE SCOTT

BELCHES, and which is the basis of this suit, as set forth in Plaintiffs Original Petition.

       The "trailer", "truck" and/or "vehicle", as used herein, refers to the a 2016 Freightliner Semi

trailer being driven and owned by Defendant MARLENE SCOTT BELCHES on the date of the

incident forming the basis of Plaintiffs Original Petition.

       A "writing" as referred to in the following interrogatories is any written or recorded

documentation, memorandum, notes, electronic data transfer, reports, records; and any other similar

or comparable recondition of information.

       "Communication" means any oral, written, printed documentary, or electronic transfer of

information. "Statement" means:

       1.      Any written or graphic statement made, recorded, signed, or otherwise adopted or
               approved by the person making it; and

       2.      Any stenographic, mechanical, electronic or other type of recording, or any
               transcription thereof which is a substantially verbatim recital in whole or part of an
               oral statement by the person making it and contemporaneously recorded.


PLAINTIFF'S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC./ng                                      Page 3
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       "Documents" shall mean all writings of every kind, source, and authorship, both originals and

all nonidentical copies thereof, in your possession, custody, or control, or known by you to exist,

irrespective of whether the writing is one intended for or transmitted to any other person or entity,

including without limitation any government agency, department, administrative, or private entity

or person. The term shall include handwritten, typewritten, printed, photocopied, photographic, or

recorded matter. It shall include communications in words, symbols, pictures, photographs,

diagrams, sound recording films, tapes, and information stored in, or accessible through computer

or other information storage or retrieval systems, together with the codes and/or programming

instructions and other materials necessary to understand and use such systems. For the purposes of

illustration and not limitation, the term shall include: affidavits; agendas; agreements; analyses;

announcements; bills; statements, and other records of obligations and expenditures; books;

brochures; bulletins; calendars; canceled checks, vouchers, receipts and other records of payments;

charts, diagrams, and drawings; check registers; checkbooks; circulars, collateral files and contents;

credit files and contents; contracts; corporate by-laws and amendments; corporate charters and

amendments; correspondence; shareholders meetings minutes; directors meeting minutes; officers

meetings minutes; committee meetings minutes; deed of trust; deposit slips; diaries; drafts; files;

guaranty agreements; instructions; invoices; ledgers; journals, balance sheets, profit and loss

statements, and other sources of financial data; letters; logs, notes, or memoranda of telephonic or

face to face communications and conversations; manuals; memoranda of all kinds, to and from any

persons, agencies, or entities; minutes; minute books; notes; notices; parts lists; papers; press

releases; printed matter (including published books, articles, speeches, and newspaper clippings);

purchase orders; records; records of administrative, technical, and financial actions taken or

PLAINTIFF'S FIRST REQUEST FOR WRITTEN
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recommended; reports; safety deposit boxes and contents and records of entry; schedules; security

agreements; specifications; statement of bank accounts; prepared statements; interviews; stock

transfer ledger; technical and engineering reports, evaluations, advice, recommendations,

commentaries, conclusions, studies, tests plans, manuals, procedures, data, reports, results, and

conclusions; summaries, notes and other records and recordings of any conferences, telegrams,

teletypes, and other communications sent or received; transcripts of testimony; UCC instruments;

work papers; and all other writings the contents of which relate to, discuss, consider, or otherwise

refer to the subject matter of the litigation. These terms also include any communication passing

between your agents, attorney, representatives, or employees, whether or not made in connection

with this specific claim or the investigation of the occurrence or transaction out of which this claim

has arisen. If any document requested was not, is no longer, in your possession or control or is no

longer in existence state whether it is:

        1.     Missing or lost;
        2.     Destroyed and, if so, what person and when;
        3.     Transferred voluntarily or involuntarily to other, and if so, to whom; or
        4.     Otherwise disposed of any, if so, by what person and when.

       In each instance, explain the circumstances surrounding every such deposition thereof, state

the approximate date thereof, and describe the contents of the information disposed of Identify" and

       "Identity" are to be used as follows:

       1.      When used in reference to a person, "identify" or "identification" means to state

               his/her full name, present or last known residence address, present or last known

               business address and telephone number.

       2.      When used in reference to a public or private corporation, governmental entity,


PLAINTIFF'S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC./ng                                      Page 5
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               partnership or association, "identify" or "identification" means to state its full name,

               present or last known business address or operating address, and the name of the

               person primarily responsible for its activities and that person's identity.

       3.      When used in reference to a document, "identify" or "identification" shall include a
               statement of the following:
       (a)     the title, heading or caption, if any of every such document;
       (b)     whether the document exists;
       (c)     all attachments to the document;
       (d)     the contents of the document;
       (e)     the identifying number(s), letter(s), or combinations thereof, if any; and the
               significance of or meaning of such number(s), letter(s), or combination thereof, if
               necessary to an understanding of the document and evaluation of any claim of
               protection from discovery;

       (f)     the date appearing on such document, if no date appears thereon, the answer shall so
               state and whenever possible shall give the date or approximate date on which such
               document was prepared.

       (g)     the number of pages and the general nature or description of such document (i.e.,
               whether it is a letter, memorandum, minutes of a meeting, etc.), with sufficient
               particularity so as to enable such document to be precisely identified;

       (h)     the name and capacity of the person who authorized or signed such document; if it
               was not signed, the answer shall so state and shall give the name of the person or
               persons who prepared it;

       (i)    the name and capacity of the person to whom such document was addressed and the
              name and capacity of such person, other than such addressee, to whom such
              document, or a copy thereof, was sent; and

       (j)    the physical location of the document and the identity of its custodian or custodians.




PLAINTIFF'S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC./ng                                      Page 6
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         PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT
                    SCHNEIDER NATIONAL CARRIERS, INC.

INTERROGATORY NO.!:

       Please provide the specific identity (by complete name, present physical address, and
telephone number) of MARLENE SCOTT BELCHES or any other individual who was operating
18 wheeler, which was involved in a collision with Plaintiff GABRIELA A. MAGNUSSEN' s
vehicle on October 26, 2015, and is the basis of this suit.

RESPONSE:

INTERROGATORY NO. 2

     What is the relationship between Defendant MARLENE SCOTT BELCHES and Defendant
SCHNEIDER NATIONAL CARRIERS, INC. in this cause of action?

RESPONSE:

INTERROGATORY NO. 3:

       Please state the names, address, and phone numbers of Defendant's agents/employees and/or
representatives who first authorized Defendant MARLENE SCOTT BELCHES to drive the vehicle
which was involved in the accident that made the basis of this suit.

RESPONSE:

INTERROGATORY NO. 4:

        Please state whether, prior to authorizing Defendant MARLENE SCOTT BELCHES to
operate the 18-wheeler truck involved in the accident, whether Defendant and/or its agents, engaged
in any inquiry to determine the driver's physical and/or mental condition and fitness to operate the
vehicle the nature of Defendant MARLENE SCOTT BELCHES' s driving ability; and if so then,

       (a)     Please describe the inquiry Defendant's representatives, servants and/or
               agents undertook.

       (b)     Please identify each person who has knowledge of any fact relating to the
               inquiry.

       (c)     Please identify each writing relating to the inquiry.
       (d)     Please identify the present custodian of any writing relating to the inquiry.


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       (e)     Please state each reason why you did not engage in any inquiry regarding the
               driving ability of Defendant MARLENE SCOTT BELCHES.

RESPONSE:

INTERROGATORY NO. 5:

       Please state whether, prior to authorizing Defendant MARLENE SCOTT BELCHES to use
your vehicle, did Defendant, its representatives, servants, and/or agents undertake any inquiry to
determine the existence of any medical condition which might preclude Defendant MARLENE
SCOTT BELCHES from safely operating a motor vehicle; and if so then,

       (a)     Please describe the inquiry, you and/or your representatives, servants and/or
               agents undertook.

       (b)     Please identify each person who has knowledge of any fact relating to the
               inquiry.

       (c)     Please identify each writing relating to the inquiry.

       (d)     Please identify the present custodian of any writing relating to the inquiry.

       (e)     Please state each reason why you did not engage in any inquiry regarding the medical
               condition, which might preclude the driving ability of Defendant MARLENE
               SCOTT BELCHES.

RESPONSE:

INTERROGATORY NO. 6:

      State when you first employed Defendant MARLENE SCOTT BELCHES, and how long said
Defendant had been an employee.

RESPONSE:

INTERROGATORY NO. 7:

       Describe in detail what damage, if any, was done to your vehicle that Defendant MARLENE
SCOTT BELCHES was operating and which was involved in this accident, drove in this accident,
and give the cost of repair to such vehicle.

RESPONSE:


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INTERROGATORY NO. 8:

        Describe in detail what injuries, if any, Defendant MARLENE SCOTT BELCHES, received
in the accident and if said driver missed any work with you post-accident.

RESPONSE:

INTERROGATORY NO. 9:

       Describe any information you have indicating, or any reason you have to believe, that there
was any defect or failure on the part of any vehicle or equipment involved in the accident.

RESPONSE:

INTERROGATORY NO. 10:

       Describe any criminal record Defendant MARLENE SCOTT BELCHES may have, including
the nature of the charge, date and place of arrest, and conviction, if any. (This Interrogatory is
intended to include traffic or moving vehicle violations.)

RESPONSE:

INTERROGATORY NO. 11:

       State the name and address of any person who has photograph of any person, place or thing
which is relevant and material to the accident and describe what the photograph show.

RESPONSE:

INTERROGATORY NO. 12:

        Please state the name of the individual who gave Defendant MARLENE SCOTT BELCHES
the authority to drive the vehicle leased by Defendant on October 12, 2015

RESPONSE:

INTERROGATORY NO. 13:

        Please state whether you lent/leased/rented the vehicle to Defendant MARLENE SCOTT
BELCHES on the date of the accident. Within your response, specifically describe any ownership
and/or leasing arrangement of the vehicle.

RESPONSE:

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         PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS-TO DEFENDANT
                    SCHNEIDER NATIONAL CARRIERS, INC.

REQUEST FOR ADMISSION NO.!:

       Admit or deny that on October 26, 2015, an accident occurred involving a tractor trailer
oPerated by Defendant MARLENE SCOTT BELCHES, and a vehicle operated by Plaintiff
GABRIELA A. MAGNUS SEN.

RESPONSE:

REQUEST FOR ADMISSION NO. 2:

       Admit or deny that on October 26, 2015, at the time of the accident in question, the vehicle
being driven by Defendant MARLENE SCOTT BELCHES was owned by you.

RESPONSE:

REQUEST FOR ADMISSION NO. 3:

        Admit or deny that Defendant MARLENE SCOTT BELCHES did not sound the horn prior
to the accident in question.

RESPONSE:

REQUEST FOR ADMISSION NO. 4:

       Admit or deny that Defendant MARLENE SCOTT BELCHES did not make an evasive move
to avoid the collision with Plaintiffs vehicle on October 26, 2015

RESPONSE:

REQUEST FOR ADMISSION NO. 5:

       Admit or deny that Defendant did not provide any driver's education, driver's safety or other
comparable safety or driver's education course to Defendant MARLENE SCOTT BELCHES at any
time during Defendant MARLENE SCOTT BELCHES' s period of employment.

RESPONSE:

REQUEST FOR ADMISSION NO. 6:

       Admit or deny that Defendant did not review the driving record and criminal record of

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Defendant MARLENE SCOTT BELCHES, prior to permitting Defendant MARLENE SCOTT
BELCHES to operate the vehicle under the control of Defendant.

RESPONSE:

REQUEST FOR ADMISSION NO. 7:

      Admit or deny that Defendant, its servants, agents and/or representatives failed to train
Defendant MARLENE SCOTT BELCHES on the safe use of the vehicle.

RESPONSE:

REQUEST FOR ADMISSION NO. 8:

       Admit or deny that Plaintiff sustained serious injuries as a result of this accident that occurred
on October 26, 2015

RESPONSE:

REQUEST FOR ADMISSION NO. 9:

       Admit or deny that the accident made the basis of this lawsuit was caused by the negligence
of Defendant MARLENE SCOTT BELCHES.

RESPONSE:

REQUEST FOR ADMISSION NO. 10:

        Admit or deny that Defendant MARLENE SCOTT BELCHES was authorized to use/operate
the vehicle under the control of Defendant on the date of the accident which is the basis of this cause
of action.

RESPONSE:

REQUEST FOR ADMISSION NO. 11:

         Admit or deny that Defendant was the lessee of, and therefore responsible for the vehicle
operated by Defendant MARLENE SCOTT BELCHES on October 26, 2015, which is the basis of
this litigation.

RESPONSE:




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REQUEST FOR ADMISSION NO. 12:

       Admit or deny that Defendant permitted and/or consented to Defendant MARLENE SCOTT
BELCHES, operating the vehicle involved in the accident that made the basis of this cause, even
though Defendant MARLENE SCOTT BELCHES was an incompetent driver.

RESPONSE:

REQUEST FOR ADMISSION NO. 13:

         Admit or deny that Defendant MARLENE SCOTT BELCHES was driving inattentively at
all relevant times, and specifically moments before the collision that makes the basis of this lawsuit.

RESPONSE:

REQUEST FOR ADMISSION NO. 14:

        Admit or deny that Defendant MARLENE SCOTT BELCHES was your employee on the
date of the incident made the basis of this suit.

RESPONSE:

REQUEST FOR ADMISSION NO. 15:

       Admit or deny that MARLENE SCOTT BELCHES, as named herein, was the individual
operating the vehicle which was involved in the collision that makes the basis of this lawsuit.

RESPONSE:




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        PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO DEFENDANT
                   SCHNEIDER NATIONAL CARRIERS, INC.

REQUEST FOR PRODUCTION NO.!:

         A copy of any license, certification, and/or endorsement that Defendant MARLENE SCOTT
BELCHES had at the time of the accident made the basis of this lawsuit. This request includes, but
is not limited in any way to any commercial driver's license and standard driver's license, as well
as any "haz-mat" endorsement and/or certification.

RESPONSE:

REQUEST FOR PRODUCTION NO. 2:

        A copy of the title to the vehicle Defendant MARLENE SCOTT BELCHES was driving at
the time of the accident made the basis of this lawsuit, and any other document(s) identifying the
make, model and year of purchase and/or date of lease of the truck involved in the accident that made
the basis of this action.

RESPONSE:

REQUEST FOR PRODUCTION NO. 3:

        A copy of any photograph, the Defendant has actual or constructive possession of, depicting
any of the vehicles involved in the accident made the basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 4:

        A copy of any accident and/or investigation report prepared by Defendant, its agents,
representatives, and/or any individual and/or business entity contracted to investigate the collision.
If no report has been prepared, the preparation of a report is hereby requested.

RESPONSE:

REQUEST FOR PRODUCTION NO. 5:

     A copy of any damage appraisal made of the vehicle Defendant, MARLENE SCOTT
BELCHES, was driving.

RESPONSE:


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REQUEST FOR PRODUCTION NO. 6:

       A copy of any drawing, map, sketch, photograph, and/or video, video of any nature of the
scene of the accident made the basis of this lawsuit which has been made.

RESPONSE:

REQUEST FOR PRODUCTION NO. 7:

        A copy of any accident location video and/or photograph that Defendant have of the accident
location in question.

RESPONSE:

REQUEST FOR PRODUCTION NO. 8:

       A true and correct copy of Defendant MARLENE SCOTT BELCHES' Social Security card.

RESPONSE:

REQUEST FOR PRODUCTION NO. 9:

        A copy of any rule, policy, procedure, instruction or similar written guidance within the
control, custody or possession of Defendant MARLENE SCOTT BELCHES, as to the use of the
vehicle leased to Defendant, by its employee's agents or representatives.

RESPONSE:

REQUEST FOR PRODUCTION NO. 10:

      A copy of any document evidencing repair work performed on the vehicle leased by
Defendant, which was involved in the accident in question.

RESPONSE:

REQUEST FOR PRODUCTION NO. 11:

        A true and correct copy of Defendant MARLENE SCOTT BELCHES personnel file; and any
other document, files, record, or other written materials containing information of Defendant
MARLENE SCOTT BELCHES' driving record, driving skills, driving training; and/or agreements,
policies regarding the use/operation of Defendant' s vehicle. This includes all computer data and
information.
RESPONSE:

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REQUEST FOR PRODUCTION NO. 12:

       A copy of any record secured by the use of any and all record obtained by an authorization
signed by the Plaintiff or subpoenaed by the Defendant.

RESPONSE:

REQUEST FOR PRODUCTION NO. 13:

      A list or privilege log of all document, video, photograph, or other materials withheld on the
grounds of a legal privilege or objection.

RESPONSE:

REQUEST FOR PRODUCTION NO. 14:

        A complete copy of any and all contract(s) and/or lease agreement(s), executed by Defendant,
its agent(s), and/or representative(s), relating to the use, control, and/or operation of the vehicle
driven by Defendant MARLENE SCOTT BELCHES on October 26, 2015, which was involved in
the collision that made the basis of this action.

RESPONSE:

REQUEST FOR PRODUCTION NO. 15:

          A copy of any document reflecting any service, repair or alteration of the truck's computer
device.

RESPONSE:

REQUEST FOR PRODUCTION NO. 16:

          A copy of any document reflecting any malfunctions of the truck's computer device.

RESPONSE:

REQUEST FOR PRODUCTION NO. 17:

       A copy of any document reflecting any malfunctions of the device mentioned in request 15
and 16 for the two years immediately preceding the accident that made the basis of this suit.

RESPONSE:


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REQUEST FOR PRODUCTION NO. 18:

        A copy of any time cards documenting Defendant MARLENE SCOTT BELCHES' s hours
for the time worked.

RESPONSE:

REQUEST FOR PRODUCTION NO. 19:

        A copy of any file relating to the truck that was involved in the collision.

RESPONSE:

REQUEST FOR PRODUCTION NO. 20:

     A copy of any document relating to any and all training received by Defendant MARLENE
SCOTT BELCHES.

RESPONSE:

REQUEST FOR PRODUCTION NO. 21:

        A copy of any log book relating in any way to Defendant's truck.

RESPONSE:

REQUEST FOR PRODUCTION NO. 22:

         A copy of any document that will show where Defendant MARLENE SCOTT BELCHES
was for the 48 hours before the accident made the basis of this lawsuit . This request includes, but
is not limited to, log books, delivery tickets, bill of lading, loading slips, time cards, and/or credit
cards.

RESPONSE:

REQUEST FOR PRODUCTION NO. 23:

        A copy of any document that will show where Defendant MARLENE SCOTT BELCHES
was for the 48 hours after the accident made the basis of this lawsuit. This request includes, but is
not limited to, log books, delivery tickets, bill of lading, loading slips, time cards, and/or credit cards
on the date of the accident and immediately prior to the accident.

RESPONSE:

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REQUEST FOR PRODUCTION NO. 24:

        A copy of any document reflecting recordings by tachograph, speedograph or other recording
devices indicating information about the operation of Defendant's truck, including but not limited
to information about date, time and rate of speed of such vehicle.

RESPONSE:

REQUEST FOR PRODUCTION NO. 25:

        All reports of violations filed by Defendant MARLENE SCOTT BELCHES with any motor
carrier, at any time, in compliance with Section 391.27(a) of the Federal Motor Carrier Safety
Regulations.

RESPONSE:

REQUEST FOR PRODUCTION NO. 26:

        A copy of any document constituting legal pleadings of claimants who have contended in a
lawsuit, or claim, filed at any time that they have been injured, damaged or killed, in a accident with
any vehicle owned or operated by Defendant (or its employee, agent or driver), and who have also
claimed (by formal contention or otherwise) that the operator of Defendant's vehicle was ill or was
fatigued or was operating in violation of Section 395.3 of the Federal Motor Carrier Safety
Regulations, or had fabricated or falsified drivers' logs from 2008 through 2010.

RESPONSE:

REQUEST FOR PRODUCTION NO. 27:

        A copy of any document comprising the driver qualification file for Defendant MARLENE
SCOTT BELCHES, as defined by U.S. Department of Transportation regulations, including but not
limited to 49 CFR §391.51.

RESPONSE:

REQUEST FOR PRODUCTION NO. 28:

       A copy of any document comprising the owner's manual for Defendant's truck, as well as all
documents from the manufacturer (or any component parts manufacturer) related to repair,
maintenance, service bulletins, recall notices, or any other subject matter pertaining to the use,
operation, repair or maintenance of Defendant's truck.
RESPONSE:

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REQUEST FOR PRODUCTION NO. 29:

        A copy of any document reflecting recordings by tachograph, speedograph or other recording
devices indicating information about the operation of Defendant's truck, including but not limited
to information about date, time and rate of speed of such vehicle, the day before the accident.

RESPONSE:

REQUEST FOR PRODUCTION NO. 30:

       A copy of any report of violations against Defendant at any time, in compliance with Section
391.27(a) of the Federal Motor Carrier Safety Regulations, from 2008 through 2017.

RESPONSE:

REQUEST FOR PRODUCTION NO. 31:

       A copy of any contract by Defendant with any persons, corporations, for the load the driver
was carrying on the date of the accident.

RESPONSE:

REQUEST FOR PRODUCTION NO. 32:

       A copy of any document comprising of personnel record, including but not limited to the
driver qualification file for Defendant MARLENE SCOTT BELCHES, as defined by U.S.
Department of Transportation regulations, including but not limited to 49 CFR §391.51, that were
generated by any predecessor company to Defendant or any previous employer in your actual or
constructive possession.

RESPONSE:

REQUEST FOR PRODUCTION NO. 33:

       The number of any cell phone, and record of defendant driver on the date of the accident.

RESPONSE:

REQUEST FOR PRODUCTION NO. 34:

       A copy of any document produced pertaining to the maintenance of Defendant's truck.

RESPONSE:


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REQUEST FOR PRODUCTION NO. 35:

        A copy of any document constituting the computer report for the period of the last five (5)
years for the truck involved in the accident.

RESPONSE:

REQUEST FOR PRODUCTION NO. 36:

        A copy of any document comprising all billing record for all radios, or hand-held phones,
portable or cellular phones or communication devices, owned by, given to or entrusted to Defendant
MARLENE SCOTT BELCHES, for use in connection with his employment with Defendant for the
period 2012 through date of accident.

RESPONSE:

REQUEST FOR PRODUCTION NO. 37:

      A copy of any document pertaining to the punch-clock, or time retention device used by the
employees and drivers of Defendant to document the hours worked, hours in and out.

RESPONSE:

REQUEST FOR PRODUCTION NO. 38:

      A copy of any document comprising the driver's pre-trip and post-trip inspections of
Defendant's truck, for the period 2012 through date of accident.

RESPONSE:

REQUEST FOR PRODUCTION NO. 39:

        All manifests with Defendant MARLENE SCOTT BELCHES' notes reflecting the off-
loading of cargo, or reflecting deliveries made by Defendant MARLENE SCOTT BELCHES, for
the period 2012 through date of accident.

RESPONSE:

REQUEST FOR PRODUCTION NO. 40:

       A copy of any document comprising all routing instructions for Defendant MARLENE

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SCOTT BELCHES, for the period of the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 41:

      A copy of any document constituting the driver's pre-trip and post-trip inspection reports for
Defendant's truck for the period of the last five (5) years, regardless of which driver generated them.

RESPONSE:

REQUEST FOR PRODUCTION NO. 42:

       A copy of any document received by Defendant from any other trucking company source,
during the period of the last five (5) years pertaining to Defendant's regulatory compliance with
Department of Transportation regulations governing driving qualifications, training and safety.

RESPONSE:

REQUEST FOR PRODUCTION NO. 43:

        A copy of any document received by Defendant for the last past five (5) years or any other
trucking company source, during the period for the last past five (5) years pertaining to any safety
rules or policies governing driving conduct.

RESPONSE:

REQUEST FOR PRODUCTION NO. 44:

       A copy of any document comprising the "job descriptions", as will be testified to by
Defendant's, as well as anyone employed by Defendant with any regulatory compliance
responsibilities, including but not limited, or whoever is currently working at the corporate level to
monitor and maintain drivers files.

RESPONSE:

REQUEST FOR PRODUCTION NO. 45:

      A copy of any document prepared by or on behalf of Defendant relating to any auditing of
Defendant's state or federal regulatory compliance for the last past five (5) years.



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RESPONSE:

REQUEST FOR PRODUCTION NO. 46:

       A copy of any document pertaining to injuries and/or fatalities involving Defendant's
personnel and/or equipment in or around the date of the accident made the basis of the lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 47:

         A copy of any document memorializing conversations between Defendant and any regulatory
official regarding whether Defendant must file any official accident or spill reports as a result of the
accident making the basis of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 48:

       A copy of any document comprising the driver's pre-trip and post-trip inspections, also
known as Vehicle Condition Reports, for any vehicle owned or operated by Defendant or prepared
by any employee of Defendant for the period of the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 49:

        A copy of any document upon which Defendant will rely in contending that prior to the date
of the accident, a commercial drivers license and hazmat endorsement excused Defendant from
providing any additional training to its drivers. To the extent that any specific regulation or comment,
treatise or publication is relied upon, please provide the cover page, date of publication page, and
specific passage in question.

RESPONSE:

REQUEST FOR PRODUCTION NO. 50:

        A copy of any document reflecting any and all written, verbal and/or electronic
communications between Defendant and its Insurance Company pertaining to the necessity of
creating a Safety Manual, or the contents of any proposed, draft or revised or edited safety manual.

RESPONSE:

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REQUEST FOR PRODUCTION NO. 51:

       A copy of any document comprising the "Company Handbook."

RESPONSE:

REQUEST FOR PRODUCTION NO. 52:

       A copy of any record obtained by the use of any releases provided to Defendant in this cause.

RESPONSE:

REQUEST FOR PRODUCTION NO. 53:

       A copy of any documentation showing that Defendant did or did not have editorial or content
review over their biographical profile before it was published on the internet as part of the official
company's website.

RESPONSE:

REQUEST FOR PRODUCTION NO. 54:

       A copy of the "New Employee File" and "New Employee Forms" maintained by Defendant.

RESPONSE:

REQUEST FOR PRODUCTION NO. 55:

       A copy of any document, including detailed billing reports, in connection with any cellular
telephones, car telephones and/or Nextel hand-held radios used by Defendant and Defendant
MARLENE SCOTT BELCHES for the last past five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 56:

       A copy of any business card and/or related handwritten note either acquired by or written by
Defendant's and Defendant MARLENE SCOTT BELCHES at the scene of the accident in question
on or about the date in question.

RESPONSE:

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REQUEST FOR PRODUCTION NO. 57:

        A copy of any document that will provide information on the types and amounts of cargo in
each compartment on Defendant's truck on the day of the accident made the basis of this lawsuit.
This request includes, but is not limited to all loading slips and/or delivery slips and seeks how many
compartments were loaded with cargo, which ones were loaded, and how much of each type of cargo
was contained in each compartment.

RESPONSE:

REQUEST FOR PRODUCTION NO. 58:

    A copy of any document that will show the types of injuries claimed by Defendant
MARLENE SCOTT BELCHES in the accident made the basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 59:

       A copy of any document relating to any inspections ever done on Defendant's truck.

RESPONSE:

REQUEST FOR PRODUCTION NO. 60:

        A copy of any document that will identify any party other than Defendant and Defendant
MARLENE SCOTT BELCHES and or any other trucking company which you believe may have
caused or contributed to the accident made the basis of this lawsuit. This request includes, but is not
limited to, any notice letters, phone slips or memos that identify any such parties.

RESPONSE:

REQUEST FOR PRODUCTION NO. 61:

       A copy'of any time record for Defendant MARLENE SCOTT BELCHES for the calendar
years 2012 through the present.

RESPONSE:




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REQUEST FOR PRODUCTION NO. 62:

      All information showing what, if any, background checks or investigation you did on
Defendant MARLENE SCOTT BELCHES before you hired him and while he worked for you.

RESPONSE:

REQUEST FOR PRODUCTION NO. 63:

       A copy of any document that relate to your net worth for the years 2012 through the present.

RESPONSE:

REQUEST FOR PRODUCTION NO. 64:

       A copy of any financial and/or net worth statement prepared by you or on your behalf for the
years 2012 through the present.

RESPONSE:

REQUEST FOR PRODUCTION NO. 65:

       A copy of any document that will show the entire corporate structure of Defendant and its
subsidiaries as of date of the accident to the present date.

RESPONSE:

REQUEST FOR PRODUCTION NO. 66:

    A copy of any document relating to compensation or monies paid by you to Defendant
MARLENE SCOTT BELCHES during the calendar years 2012 through the present.

RESPONSE:

REQUEST FOR PRODUCTION NO. 67:

       A copy of any service and operation manuals relating to Defendant's truck.

RESPONSE:




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REQUEST FOR PRODUCTION NO. 68:

       A copy of any contract and/or agreement you had with any entity for the service and/or
maintenance of your fleet. This request includes, but is not limited to, Defendant's truck.

RESPONSE:

REQUEST FOR PRODUCTION NO. 69:

       A copy of any document that relate to any service and/or maintenance on Defendant's truck
from 2012 to the present.

RESPONSE:

REQUEST FOR PRODUCTION NO. 70:

       A copy of any safety manual, safety policy, safety procedure, or safety guideline that applied
to Defendant MARLENE SCOTT BELCHES at the time of the accident made the basis of this
lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 71:

        A copy of any document relating to any safety meetings attended by Defendant MARLENE
SCOTT BELCHES from the time he was employed by Defendant. This request includes, but is not
limited to, the date of each meeting, topics covered, who conducted the meetings, and who attended
the meetings.

RESPONSE:

REQUEST FOR PRODUCTION NO. 72:

        A copy of any Defendant's company policy and procedural manual in effect on the date of
the accident made the basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 73:
     A copy of any document relating to any truck driver training given to Defendant MARLENE
SCOTT BELCHES at any time.
RESPONSE:

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REQUEST FOR PRODUCTION NO. 74:

     A copy of any document relating to any safety training given to Defendant MARLENE
SCOTT BELCHES at any time.

RESPONSE:

REQUEST FOR PRODUCTION NO. 75:

       A copy of any safety manual used by any of your regional offices or branches.

RESPONSE:

REQUEST FOR PRODUCTION NO. 76:

       The resume and/or background of Defendant MARLENE SCOTT BELCHES.

RESPONSE:

REQUEST FOR PRODUCTION NO. 77:

       A copy of any document describing and/or relating to your Manager Drive-Along Program.

RESPONSE:

REQUEST FOR PRODUCTION NO. 78:

       A copy of any note regarding this accident, whether written or in a computer.

RESPONSE:

REQUEST FOR PRODUCTION NO. 79:

        A copy of any document relating to communications with the Department of Transportation
with respect to this accident.

RESPONSE:

REQUEST FOR PRODUCTION NO. 80:

       A copy of any of Defendant employment files for truck drivers in 2010-2012.


PLAINTIFF'S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC./ng                              Page 26
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RESPONSE:

REQUEST FOR PRODUCTION NO. 81:

       A copy of any company handbook regarding truck safety and safety for its truck drivers.

RESPONSE:

REQUEST FOR PRODUCTION NO. 82:

        A copy of any document that will show the amount of money spent by you on safety and/or
safety programs for each fiscal year from 2012 through the present.

RESPONSE:

REQUEST FOR PRODUCTION NO. 83:

       A copy of any document that will show the amount of money spent by you on regulatory
compliance and/or regulatory compliance programs.

RESPONSE:

REQUEST FOR PRODUCTION NO. 84:

       A copy of any document relating to injuries and/or fatalities involving Defendant's drivers.
This request includes, but is not limited to, all accident reports, accident reports, claims, lawsuits,
and investigations.

RESPONSE:

REQUEST FOR PRODUCTION NO. 85:

        A copy of any disciplinary actions taken against Defendant MARLENE SCOTT BELCHES
while in your employment.

RESPONSE:

REQUEST FOR PRODUCTION NO. 86:

     The "new employee file" that Defendant maintains with respect to Defendant MARLENE
SCOTT BELCHES.
RESPONSE:

PLAINTIFF'S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC./ng                                      Page 27
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REQUEST FOR PRODUCTION NO. 87:

       A copy of any vehicle condition report from the time the truck was purchased and/or leased
by Defendant until the date of the accident made the basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 88:

       A copy of any pre-trip inspection report from the time the truck was purchased and/or leased
by Defendant until the date of the accident made the basis of this lawsuit;

RESPONSE:

REQUEST FOR PRODUCTION NO. 89:

       A copy of any post-trip inspection report from the time the truck was purchased and/or leased
by Defendant until the date of the accident made the basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 90:
       With respect to any vehicle driven by Defendant MARLENE SCOTT BELCHES from 2012
through the present, including the date of the accident made the basis of this lawsuit, please produce:
       a.      A copy of any vehicle condition report filled out by Defendant MARLENE
               SCOTT BELCHES;

       b.      A copy of any pre-trip inspection report filled out by Defendant MARLENE
               SCOTT BELCHES;

       c.      A copy of any post-trip inspection report filled out by Defendant MARLENE
               SCOTT BELCHES;

       d.      A copy of any document relating in any way to Defendant's manager drive
               along program.

       e.      A copy of any document relating in any way to the branches use of the
               manager drive along program.

       f.      A copy of any document relating in any way to Defendant's use of the
               manager drive along program.
RESPONSE:

PLAINTIFF'S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC./ng                                      Page 28
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REQUEST FOR PRODUCTION NO. 91:
      A copy of any document relating to the use of the manager drive along program with
Defendant MARLENE SCOTT BELCHES.

RESPONSE:

REQUEST FOR PRODUCTION NO. 92:
         A copy of any document containing the names, home phone numbers, home addresses,
business addresses and business phone numbers of all persons who have knowledge of facts relevant
to this cause.

RESPONSE:

REQUEST FOR PRODUCTION NO. 93:

        A copy of any document reflecting any investigation into the accident making the basis of
this suit, prior to the date that the Defendant, its agents, servants or employees had good cause to
believe that litigation in this matter was forthcoming.

RESPONSE:

REQUEST FOR PRODUCTION NO. 94:

        A copy of any document reflecting any investigation into the accident making the basis of
this suit that were conducted in the ordinary course of the business of the Defendant, its agents,
servants or employees.

RESPONSE:

REQUEST FOR PRODUCTION NO. 95:

        A copy of any photograph, video, artists' conception, diagram, or any other form of
electronic, photographic, xerographic, video, or audio medium for the recording and transmission
of any information pertaining to any facts relevant to this cause.

RESPONSE:
REQUEST FOR PRODUCTION NO. 96:

        A copy of any agreement and/or understanding made or entered into by you with any other
party or potential party to this lawsuit, including the terms and provisions of any such agreement or
understanding.
RESPONSE:

PLAINTIFF'S FIRST REQUEST FOR WRITTEN
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REQUEST FOR PRODUCTION NO. 97:

        A copy of any bill, photograph, and/or estimate of any property damage arising by virtue of
the accident making the basis of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 98:

         A copy of any photograph and/or video of the vehicles involved in the accident that makes
the basis of this suit, the accident location, of Plaintiff or Defendant or other item that is material and
is likely to lead to the discovery of admissible evidence at trial.

RESPONSE:

REQUEST FOR PRODUCTION NO. 99:

        A copy of any document evidencing ownership of Defendant at the time of the accident made
the basis of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 100:

        A copy of any document reflecting the date that Defendant had good cause to believe that
litigation in this matter was forthcoming. "Good cause" means having an objective basis for
believing that litigation is forthcoming coupled with a subjective manifestation that litigation is
forthcoming.

RESPONSE:

REQUEST FOR PRODUCTION NO. 101:

        A copy of any record or document (medical or non-medical) concerning Defendant
MARLENE SCOTT BELCHES indicating that he was or was not using alcohol and or drugs
(including prescription or nonprescription, legal or illegal) within twenty-four (24) hours prior to the
accident.

RESPONSE:




PLAINTIFF'S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC./ng                                         Page 30
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REQUEST FOR PRODUCTION NO. 102:

        A copy of any record or document (medical or non-medical) concerning Defendant
MARLENE SCOTT BELCHES indicating that he did or did not have alcohol and/or drugs
(including prescription or non-prescription, legal or illegal) in the bloodstream or urine at the time
of or immediately following the accident.

RESPONSE:

REQUEST FOR PRODUCTION NO. 103:

        A copy of any document relating to the maintenance and repair history on Defendant's truck
for the three years preceding the accident making the basis of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 104:

        A copy of any document relating in any way to any automotive, body, or mechanical repair
to Defendant's truck, or any component thereof, for the three years preceding the accident making
the basis of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 105:

       A copy of any document relating to the tires on Defendant's truck for the three years
preceding the accident making the basis of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 106:

     A copy of any drug, alcohol and/or polygraph test performed on Defendant MARLENE
SCOTT BELCHES, in your actual or constructive possession.

RESPONSE:

REQUEST FOR PRODUCTION NO. 107:

       A copy of any log book relating in any way to 'Defendant's truck, for the three years
preceding the accident making the basis of this suit.

PLAINTIFF'S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC./ng                                     Page 31
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RESPONSE:

REQUEST FOR PRODUCTION NO. 108:

     A copy of any document relating to all loads or cargo carried by Defendant MARLENE
SCOTT BELCHES at the time of the accident making the basis of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 109:

        A copy of any document tending to show where Defendant MARLENE SCOTT BELCHES
was for the seventy-two hours before the accident making the basis of this suit, whether on the job
or off the job.

RESPONSE:

REQUEST FOR PRODUCTION NO. 110:

        A copy of any document showing Defendant MARLENE SCOTT BELCHES' intended
destination at the time of the accident making the basis of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 111:

       A copy of any document showing how much cargo was loaded onto Defendant's truck, and
how much cargo was unloaded from Defendant's truck during the seventy-two hours preceding the
accident making the basis of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 112:

       A copy of any document that will identify any or all other drivers besides Defendant
MARLENE SCOTT BELCHES, who operated Defendant's truck during the twelve months
preceding the accident making the basis of this suit.

RESPONSE:




PLAINTIFF'S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC./ng                                  Page 32
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REQUEST FOR PRODUCTION NO. 113:

      A copy of any document showing the types and amounts of cargo in each separate
compartment of Defendant's truck at the time of the accident making the basis of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 114:

      A copy of any document showing the capacities of each separate cargo storage compartment
on Defendant's truck.

RESPONSE:

REQUEST FOR PRODUCTION NO. 115:

        A copy of any document showing the identity of any potential party, whether it be a business
entity or person, not already a party to this litigation.

RESPONSE:

REQUEST FOR PRODUCTION NO. 116:

      A copy of any document identifying the manufacturer of the cargo storage compartments on
Defendant's truck at the time of the accident making the basis of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 117:

      A copy of any document relating to any inspections of Defendant's truck during the twelve
months preceding the accident making the basis of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 118:

       A copy of any document constituting any notice letters that have been sent by or on behalf
of Defendant MARLENE SCOTT BELCHES or Defendant's to any other person or entity, placing
such other person or entity on notice of the accident making the basis of this suit.

RESPONSE:

PLAINTIFF'S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC./ng                                   Page 33
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REQUEST FOR PRODUCTION NO. 119:

     A copy of any document reflecting the hours worked by Defendant MARLENE SCOTT
BELCHES for the six months preceding the accident making the basis of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 120:

         A copy of any document reflecting all background checks or investigation performed on or
about Defendant MARLENE SCOTT BELCHES, at any time before the accident making the basis
of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 121:

        The corporate tax returns for Defendant for the years 2012 through the present.

RESPONSE:

REQUEST FOR PRODUCTION NO. 122:

        A document showing the current corporate hierarchy or organizational chart for Defendant
for the last five (5) years.                                                       1




RESPONSE:

REQUEST FOR PRODUCTION NO. 123:

      A copy of any document reflecting all service and/or operation manual relating the
Defendant's truck.

RESPONSE:

REQUEST FOR PRODUCTION NO. 124:

         A copy of any contract, agreement, and/or document relating to the service and maintenance
of the fleet of Defendant's vehicles for the two years preceding the accident making the basis of this
suit.

RESPONSE:

PLAINTIFF'S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC./ng                                     Page 34
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REQUEST FOR PRODUCTION NO. 125:

        A copy of any contract relating to the purchase of, service and maintenance of Defendant's
truck for the two (2) years preceding the accident making the basis of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 126:

         A copy of any document identifying the other vehicles, (besides) the vehicle involved in this
suit, ,as well as the estimated dates of use and mileage traveled, that Defendant MARLENE SCOTT
BELCHES operated for Defendant's during the two years preceding the accident making the basis
of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 127:

       A copy of any computerized document relating to any previous request not already produced
from 2012 through the present.

RESPONSE:

REQUEST FOR PRODUCTION NO. 128:

      A copy of any document indicating the number of times Defendant MARLENE SCOTT
BELCHES was permitted to drive the truck home, and whether he had permission to drive
Defendant's truck home at any time.

RESPONSE:

REQUEST FOR PRODUCTION NO. 129:
          1.
     A copy of any settlement sheet for loads hauled by Defendant MARLENE SCOTT
BELCHES for Defendant during the period 2012 through the present.

RESPONSE:

REQUEST FOR PRODUCTION NO. 130:

     A copy of any employment agreement between Defendant and Defendant MARLENE
SCOTT BELCHES.

PLAINTIFF'S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC./ng                                    Page 35
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REQUEST FOR PRODUCTION NO. 138:

        A copy of any document corroborating Defendant MARLENE SCOTT BELCHES' route of
travel on the day of the accident that made the basis of this action.

RESPONSE: •

REQUEST FOR PRODUCTION NO. 139:

       A copy of any document corroborating Defendant MARLENE SCOTT BELCHES' ingress
and egress from Defendant's yard, for the period of 2012 through the present.

RESPONSE:

REQUEST FOR PRODUCTION NO. 140:

        A copy of any trip report, trip envelopes, and all other document relating to individual trips
that Defendant MARLENE SCOTT BELCHES made for Defendant's for the period 2012 through
the present.

RESPONSE:

REQUEST FOR PRODUCTION NO. 141:

    A copy of any of Defendant's dispatch logs of any kind or character relating to Defendant
MARLENE SCOTT BELCHES' for the period of 2012 through the present.

RESPONSE:

REQUEST FOR PRODUCTION NO. 142:

       A copy of any of Defendant MARLENE SCOTT BELCHES' driVer record of duty status or
Daily Logs.

RESPONSE:

REQUEST FOR PRODUCTION NO. 143:

       A copy of any document reflecting the names, address and telephone numbers of all shops
and garages where maintenance or inspection is performed on Defendant's vehicles that regularly
operate in and around the State of Texas, for the period 2012 through the present.

RESPONSE:
PLAINTIFF'S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC./ng                                     Page 37
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REQUEST FOR PRODUCTION NO. 144:

       A copy of any report to or by Defendant's to others, of "reportable accidents" as that term is
defined in Section 394.3 of the federal Motor Carrier Safety Regulations.

RESPONSE:

REQUEST FOR PRODUCTION NO. 145:

       A copy of any document reflecting Defendant's procedures for determining:

       a.      Communication between Defendant MARLENE SCOTT BELCHES and
               Defendant's while Defendant was hauling for said company;

       b.      when Defendant MARLENE SCOTT BELCHES could sleep on the job;

       c.      when Defendant MARLENE SCOTT BELCHES could take company
               vehicles home, or on personal errands;

       d.      monitoring how much cargo Defendant MARLENE SCOTT BELCHES
               would leave with, and would return with, after he would take company
               vehicles home.
RESPONSE:

REQUEST FOR PRODUCTION NO. 146:

        A copy of any document reflecting Defendant MARLENE SCOTT BELCHES or Defendant
MARLENE SCOTT BELCHES truck's presence at the Defendant's loading bays, or near that
location, as well as date and time of arrival and departure, amount of cargo loaded or unloaded, for
the period of 2012 through the present.

RESPONSE:

REQUEST FOR PRODUCTION NO. 147:

     A copy of any dispatch log of any kind or character relating to Defendant MARLENE
SCOTT BELCHES for the period of 2012 through the present.

RESPONSE:

REQUEST FOR PRODUCTION NO. 148:
     Defendant's gross revenues for 2012 through the present.
RESPONSE:

PLAINTIFF'S FIRST REQUEST FOR WRITTEN
DISCOVERY TO DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC./ng                                    Page 38
FORM NO. 353-3 - CITATION                                                                                            ESERVE
THE STATE OF TEXAS                                                                                                  CITATION
To:    SCHNEIDER NATIONAL CARRIERS, INC
       BY SERVING ITS REGISTERED AGENT CT CORPORATION
                                                                                                                   DC-17-07579
       1999 BRYAN ST STE 900
       DALLAS TX 75201

GREETINGS:                                                                                                  GABRIELA A MAGNUSSEN,
You have been sued. You may employ an attorney. If you or your attorney do not file a written                         vs.
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the        MARLENE SCOTT BELCHES, et al
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk of the 192nd District Court at 600                 ISSUED THIS
Commerce Street, Ste. 101, Dallas, Texas 75202.                                                                29th day of June, 2017

Said Plaintiff being GABRIELA A. MAGNUSSEN,                                                                       FELICIA PITRE
                                                                                                                Clerk District Courts,
Filed in said Court 26th day of June, 2017 against                                                              Dallas County, Texas

MARLENE SCOTT BELCHES AND SCHNEIDER NATIONAL CARRIERS, INC
                                                                                                                By: GAY LANE, Deputy
For Suit, said suit being numbered DC-17-07579, the nature of which demand is as follows:                 ________________________________
Suit on MOTOR VEHICLE ACCIDENT etc. as shown on said petition, REQUEST FOR                                       Attorney for Plaintiff
                                                                                                                                         Case 3:17-cv-02102-N Document 1-1 Filed 08/09/17




DISCLOSURE, a copy of which accompanies this citation. If this citation is not served, it shall be                  GINA GIBLIN
returned unexecuted.                                                                                    LAW OFFICE OF DOMINGO GARCIA PC
                                                                                                             400 S ZANG BLVD SUITE 600
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                     DALLAS TX 75208
Given under my hand and the Seal of said Court at office this 29th day of June, 2017.                                214-941-8300

ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas
                                  /s/ Gay Lane
                        By__________________________________, Deputy
                             GAY LANE
                                                                                                                                         Page 52 of 65 PageID 57
                                                                       OFFICER'S RETURN
Case No. : DC-17-07579

Court No.192nd District Court

Style: GABRIELA A MAGNUSSEN,

vs.

MARLENE SCOTT BELCHES, et al

Came to hand on the ________________day of __________________, 20_________, at __________o'clock_________.M. Executed at ______________________________,

within the County of __________________________ at ____________ o'clock _______ .M. on the ________________day of_________________________________________,

20_______________, by delivering to the within named

____________________________________________________________________________________________________
____________________________________________________________________________________________________________

each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by
me in serving such process was _________miles and my fees are as follows: To certify which witness my hand.



                              For serving Citation          $__________                    _______________________________________________
                                                                                                                                                                                        Case 3:17-cv-02102-N Document 1-1 Filed 08/09/17




                                For mileage                  $__________                   of__________________County, ____________________
                                For Notary                   $__________                    By______________________________________Deputy

                                                               (Must be verified if served outside the State of Texas.)
Signed and sworn to by the said__________________________before me this_______day of _____________________, 20_______,

to certify which witness my hand and seal of office.


                                                                                           _____________________________________________________

                                                                                           Notary Public___________________County_________________
                                                                                                                                                                                        Page 53 of 65 PageID 58
FORM NO. 353-4—CITATION                                                                                                           ESERVE (COH)
THE STATE OF TEXAS

To:      MARLENE SCOTT BELCHES                                                                                                             CITATION
         BY SERVING THE CHAIRMAN OF THE STATE HIGHWAY AND
         PUBLIC TRANSPORTATION COMMISSION
         125 E 11TH STREET                                                                                                              No.: DC-17-07579
         AUSTIN, TX, 78701-2483
                                                                                                                               GABRIELA A MAGNUSSEN,
                                                                                                                                         vs.
GREETINGS:                                                                                                                    MARLENE SCOTT BELCHES, et al
You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the
clerk who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of twenty days after you
were served this citation and petition, a default judgment may be taken against you.                                                    ISSUED
 Your answer should be addressed to the clerk of the 192nd District Court                                                 ON THIS THE 29TH DAY OF JUNE, 2017
at 600 Commerce Street, Dallas, Texas 75202.

 Said PLAINTIFF being GABRIELA A. MAGNUSSEN,                                                                             FELICIA PITRE
                                                                                                                         Clerk District Courts,
Filed in said Court 26th day of June, 2017 against                                                                       Dallas County, Texas
 MARLENE SCOTT BELCHES AND SCHNEIDER NATIONAL CARRIERS, INC
                                                                                                                          By GAY LANE, Deputy
  For suit, said suit being numbered DC-17-07579 the nature of which demand is as follows:                               ___________________________________
  Suit On MOTOR VEHICLE ACCIDENT etc.
                                                                                                                                                               Case 3:17-cv-02102-N Document 1-1 Filed 08/09/17




as shown on said petition REQUEST FOR DISCLOSURE, a copy of which accompanies this citation. If this citation            Attorney for : Plaintiff
is not served, it shall be returned unexecuted.                                                                           GINA GIBLIN
                                                                                                                          LAW OFFICE OF DOMINGO GARCIA
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                             PC
 Given under my hand and the Seal of said Court at office on this the 29th day of June, 2017                              400 S ZANG BLVD SUITE 600
ATTEST: FELICIA PITRE                                                                                                     DALLAS TX 75208
Clerk of the District Courts of Dallas, County, Texas                                                                     214) 941-8300
                                        /s/ Gay Lane
                        By__________________________________, Deputy
                                         GAY LANE
                                                                                                                                                               Page 54 of 65 PageID 59
                                                                              OFFICER'S RETURN
                                                                              FOR INDIVIDUALS
Cause No. DC-17-07579

Court No: 192nd District Court

Style: GABRIELA A MAGNUSSEN,
vs.
MARLENE SCOTT BELCHES, et al

          Received this Citation the __________day of_______________, 20_____at__________o'clock. Executed at _______________, within the County of
_______________________________________, State of_____________, on the __________day of _______________, 20_____, at ______o'clock, by
delivering to the within named___________________________________________ each in person, a copy of this Citation together with the accompanying copy of Plaintiff's original
petition, having first indorsed on same the date of delivery.

                                                                                   OFFICER'S RETURN
                                                                                  FOR CORPORATIONS
Received this Citation the __________day of_______________, 20_____at__________o'clock ___.M. Executed at _______________, within the County of
_______________________________________, State of___________________, on the __________day of _______________, 20_____, at _________ o'clock ____ .M. by summoning
the within named Corporation, ______________________ by delivering to _____________________________________ __________________________________________
         ____________ President - Vice President - Registered Agent - in person, of the said
________________________________________________________________________________________________________________________
         a true copy of this citation together with the accompanying copy of Plaintiff's original petition, having first indorsed on same the date of delivery.
                                                                                   ----------000000----------

The distance actually traveled by me in serving such process was _________ miles and my fees are as follows:   To certify which witness by my hand.
                                                                                                                                                                                Case 3:17-cv-02102-N Document 1-1 Filed 08/09/17




For Serving Citation       $_______________                   Sheriff___________________________________
For Mileage                $_______________                   County of________________________________
For Notary                 $_______________                   State of__________________________________
         Total Fees        $_______________                   By______________________________________

(Must be verified if served outside the State of Texas)
State of__________________________________
County of________________________________
         Signed and sworn to me by the said___________________________before me this__________
day of _____________________________, 20______, to certify which witness my hand and seal of office.
                                                                                                                            ____________________________________________

                                                   Seal                                                                        State & County of
                                                                                                                                                                                Page 55 of 65 PageID 60




                                                                                                                           _____________________________________________
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Case 3:17-cv-02102-N Document 1-1 Filed 08/09/17   Page 60 of 65 PageID 65
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                                                                                                                 FILED
                                                                                                     DALLAS COUNTY
                                                                                                      8/8/2017 1:27 PM
  Case 3:17-cv-02102-N Document 1-1 Filed 08/09/17                Page 63 of 65 PageID 68               FELICIA PITRE
                                                                                                     DISTRICT CLERK

                                                                                               Lafonda Sims
SND.8764
                                   CAUSE NO. DC-17-07579

 GABRIELA A. MAGNUSSEN                           §   IN THE DISTRICT COURT OF
                                                 §
 v.                                              §
                                                 §   DALLAS COUNTY, TEXAS
 MARLENE SCOTT BELCHES and                       §
 SCHNEIDER NATIONAL CARRIERS,                    §
 INC.                                            §   192nd JUDICIAL DISTRICT


 DEFENDANT SCHNEIDER NATIONAL CARRIERS, INC., AND MARLENE SCOTT
                  BELCHER’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, SCHNEIDER NATIONAL CARRIERS, INC.                            AND   MARLENE

SCOTT BELCHER (improperly named in this suit), Defendants named in the above-entitled

and numbered cause, and files this, their Original Answer, and for same would respectfully show

unto the Court as follows:

                                            I.
                                      GENERAL DENIAL

       Defendants deny each and every, all and singular, the material allegations contained

within Plaintiff’s pleadings and demands strict proof thereof.

                                             II.
                                        SECTION 18.091

       Defendants invoke Section 18.091 of the Texas Civil Practice and Remedies Code. To

the extent Plaintiff seeks recovery for loss of earnings, loss of earning capacity, loss of

contributions of a pecuniary value or loss of inheritance, the evidence to prove such loss must be

presented in the form of net loss after reduction of income tax payments or unpaid tax liability.

Defendants further request the court to instruct the jury as to whether any recovery for

compensatory damages sought by Plaintiff is subject to federal or state income taxes.


DEFENDANTS SCHNEIDER NATIONAL CARRIERS, INC. AND MARLENE SCOTT BELCHER’S
ORIGINAL ANSWER                                                         Page 1
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                                               III.
                                         SECTION 41. 0105

        Defendants invoke Section 41.0105 of the Texas Civil Practice and Remedies Code. To

the extent Plaintiff seeks recovery of medical or healthcare expenses incurred, the evidence to

prove such loss must be limited to the amount actually paid or incurred by or on behalf of

Plaintiff. Defendants further request the court to instruct the jury as to whether any recovery for

medical or healthcare expenses sought by Plaintiff is limited to the amount actually paid or

incurred by or on behalf of Plaintiff.

                                                 IV.
                                         PAID V. INCURRED

        Defendants also assert that it is entitled to a reduction in any award for medical expenses

to the extent that same is not actually paid or incurred. Defendants are further entitled to a

reduction as to any damage award for the full sum of any settlement as an offset to Plaintiff’s

recovery.

                                               V.
                                          JURY DEMAND

        In accordance with Rule 216 of the TEXAS RULES         OF   CIVIL PROCEDURE, Defendants

demands a trial by jury.

        WHEREFORE,             PREMISES       CONSIDERED,            Defendants    SCHNEIDER

NATIONAL CARRIERS, INC. and MARLENE SCOTT BELCHER pray that the Plaintiff

take nothing by this suit, that Defendants go hence with its costs without delay, and for such

other and further relief, both general and special, at law and in equity, to which Defendants may

show itself justly entitled.




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                                     Respectfully submitted,

                                     FEE, SMITH, SHARP & VITULLO, L.L.P

                                       /s/ Michael P. Sharp

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                                     ATTORNEYS FOR DEFENDANTS SCHNEIDER
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                                     SCOTT BELCHER




                             CERTIFICATE OF SERVICE

      This Will Certify that a true and correct copy of the foregoing instrument has this 8th day
of August, 2017, been forwarded to all attorneys of record in this cause of action as follows:

       Via Electronic Service
       Gina Giblin
       Law Office of Domingo Garcia, P.C.
       400 S. Zang Blvd.
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                                              /s/ Michael P. Sharp

                                            MICHAEL P. SHARP




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ORIGINAL ANSWER                                                         Page 3
